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== OF -96' 4349

EASTERN DISTRICT OF NEW YORK

oa enn eee nee wan n=-X . BARTELS, J.

GIZELLA WEISSHAUS, or ,

behalf of herself and all CIVIL ACTION NO.
other persons of all- , ‘
national origins, ethnic GO, M.
groups, races, creeds and

colors, similarly situated

as victims and survivors of COMPLAINT

the Nazi Holocaust,
Plaintiffs

~ against - TRIAL “BY JURY DEMANDED

SWISS BANK CORPORATION,
SWISS BANK CORPORATION

a/k/a SWISS NATIONAL BANK,

BANKING INSTITUTIONS #1 -
100 and JOHN DOES #1 - >
100,

Defendants. f

Plaintiff GIZELLA WEISSHAUS (heréinafter "WEISSHAUS'') |

UNION BANK OF SWITZERLAND, [4

individually and as a representative on behalf of all other
persons of all national origins, ethnic groups, races,
creeds and colors, Similarly situated as victims and

Survivors of the Nazi Holocaust, by her attorneys FAGAN 6&

 

ASSOCIATES and DAN L. JOHNSTON ESQ., complaining of the
defendant(s) herein, respectfully show(s) to this Court, anu
allege as follows:

THE PARTIES, JURISDICTION & VENUE

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1. That the named plaintiff WEISSHAUS was and still is a
citizen of the United States, resident of the City and
State of New York, and resides within this District.

2. That the named plaintiff WETSSHAUS was a survivor of

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the Nazi Holocaust.

That the above entitled action is brought by plaintiff
WEISSHAUS on behalf of herself and on behalf of all
other persons of all national origins, ethnic groups,
races, creeds and colors, Similarly situated as, victims
and survivors of the Nazi Holocaust, who themselves or
their blood relatives, (i) had items of personal
Property, including but not limited to the items of
jewelry, household furnishing and family heirlooms made
of diamonds, gold, silver, pearls and other precious
metals and jewels, as well as the gold from the teeth
taken from them and "sold" and/or transferred by the
Nazis to Swiss and other banks and (ii) who had monies,

jewelry and other valuable items of personal property

‘ deposited in various Swiss banks for safe keeping to be

retrieved after World War ITI,

cs \
That the exact number of the members of this class, as
identified above, is not known to plaintiff WEISSHAUS,
but it is estimated that the class is so numerous that
joinder of individual members herein is impracticable.
That there are questions of law and/or fact common to
the class which predominate over any questions
affecting only individual members.
That the claims of plaintiff WEISSHAUS, who is
representative of the class, are typical of the claims
of the entire class, in that the claims of all members

of the class, including plaintiff WEISSHAUS depend on a

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showing of the acts and/or omissions of defendants, as

 
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described below, which give plaintiff WEISSHAUS
individual and as the class representative, the right
to the relief sought herein.

That there is no conflict known to Plaintiff WEISSHAUS,
the class representative, as between herself as the
named plaintiff and the other members of the class with
respect to this action, or with respect to the claims
for relief set forth herein.

That plaintiff WEISSHAUS is able to and will fairly and
adequately protect the interests of the class,

That a class action is Superior to the other available
methods for fair and efficient adjudication of the
controversy,

That at all times hereinafter mentioned, the defendants
are (i) Banking Institutions, including public,
private, quasi-governmental and governmental banks,
and/or their predecessors, successors and/or assigns,
and their designated representatives, and (ii) other
institutions and/or persons to which/whom the assets
and property of the class members were transferred
and/or in which they are/were held, which have and/or
do conduct and/or transact business within the City and
State of New York, and within this District.

That at all times hereinafter mentioned, the actions
which give rise to the within causes of action occurred
in and/or have an effect on the citizens of the United
States, including the named plaintiff wEISsHAUs and the

other class members, within this District.

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That at all times hereinafter mentioned, jurisdiction
of the Court is conferred by virtue of, among other
things:

a. under 28 USC § 1331 as the acts complained of
herein have an affect on the Constitution, laws
and .treaties of the United States;

b. the acts complained of herein effect the economy
of the United States;

c. the acts complained of herein involve the
violation of international law;

d. the acts complained of herein involved rights in
property taken in violation of due process,
Federal common law and/or international law;

e. the acts complained of herein violate
international banking laws;

£. the acts complained of herein involved claims
which arise out of continuing misrepresentations,
deceit and/or interference with the class members
personal property rights;

gq. the amount in controversy exceeds $50,000,
exclusive of interest and costs.

That at all times hereinafter mentioned, venue of this

action is proper under 28 USC § 1391 (a) in the United

States District Court for the Eastern District of New

York, insofar as some of the acts which gives rise to

the Complaint affect plaintiff WEISSHAUS individually

' and the class representative, within this District and

defendants have solicited, transacted, conducted and/or

 
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conduct within this District.

AS AND FOR A FIRST CAUSE OF ACTION - ACCOUNTING
That the plaintiffs repeat and reallege each and every
allegation set forth above as if the same were set
forth more fully and at length herein.
That at all times hereinafter mentioned, plaintiff
WEISSHAUS and the class members are/were victims and/or
Survivors of the Nazi holocaust.
That at all times hereinafter mentioned, plaintiff
class representative WEISSHAUS was a member of a
family? which included parents, grandparents, aunts,
uncles, siblings and cousins.
That at all times hereinafter mentioned, the class
members were members of families including parents,
grandparents, aunts, uncles, Siblings and cousins.
That at all times hereinafter mentioned, the WEISSHAUS
Family and individual class member families are
collectively referred to as "Class Members' Families".
That at all times hereinafter mentioned, during the
period from 1933 to 1945. and specifically during the

reign of the notorious international war criminal Adolf

 

 

 

Plaintiff Gizella Weisshaus' (See a copy of plaintiffs
Birth Certificate attached hereto as Exhibit 1) family
consisted of her mother Sarah Halpert and her father
Bugene Stern (See Marriage Certificate attached hereto
as Exhibit 2), and their parents, as well as brothers,
Sisters and their families. Throughout this complaint
the reference to the WEISSHAUS! Family shall include
the Halpert and Stern families, who were exterminated
by the Nazis. (See photographs of WEISSHAUS' Family
are attached hereto collectively as Exhibit 3.)

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Hitler and his criminal Nazi Government (hereinafter
the "Subject Period"), plaintiff WEISSHAUS, along with
the Class Members! Families, were forcibly rounded up
and placed into various forms of detention such as in
forced labor camps, ghettos and/or death camps, all of
which was in contravention of their human and
international rights.

That at all times hereinafter mentioned, during the
Subject Period, plaintiff WEISSHAUS's Family, along
with the Class Members' Families, attempted to and/or
did in fact secret and/or deposit monies, jewelry and
other items of valuable personal property in the
defendants Swiss Banks, so that said monies, jewelry
and other items of valuable personal property could be
reclaimed by them or their survivors, the plaintiff
class members herein, after they escaped the Nazi
Government or after the Nazi Government's reign ended.
That at all times hereinafter mentioned, during the
Subject Period, prior to and/or at the time of their
forced internment plaintiff WEISSHAUS, and plaintiff
Class Members' Families, were stripped of their
personal property, including items of jewelry,
household furnishing and family heirlooms of diamonds,
gold, silver, pearls and other precious metals and
jewels, and/or had same taken from them forcibly.

That at all times hereinafter mentioned, during the
Subject Period, after the aforesaid forced internment,

plaintiff WEISSHAUS, along with the entire Class

 
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Members' Families, were designated for "reassignment"
to any one of a number of the Nazi Government's Death,
Extermination and/or Labor Camps and/or Ghettos.

That at all times hereinafter mentioned, at the time of
their aforesaid designation for "reassignment" to the
aforesaid Nazi Government's Death, Extermination and/or
Labor Camps and/or Ghettos, plaintiff WEISSHAUS, along
with the other plaintiff Class Members' Families, had
Secreted upon their persons and/or in their clothing,
items of jewelry, household furnishing and family
heirlooms made of diamonds, gold, silver, pearls and
other precious metals and jewels. ,

That at all times hereinafter mentioned, at the time of
their aforesaid designation for "reassignment" to the
Nazi Death, Extermination and/or Labor Camp, which were
run by during the Subject Period, plaintiff WEISSHAUS'
Family, along with various of the Class Members
Families, had certain gold filling in their teeth.

That at all times hereinafter mentioned, plaintiffs
personally had sewn into the clothing of her garments,
which were stripped from her/them, upon her/their
arrival at the aforesaid Nazi Death, Extermination
and/or Labor Camps and/or Ghettos, jewelry and other
family heirlooms made of gold, silver and diamonds.
That at all times hereinafter mentioned, plaintiffs
were the survivors of the plaintiff Class Members
Families all of whom were subjected to human rights

violations, including but not limited to extermination,

 
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at the aforesaid Nazi Death, Extermination and/or Labor
Camps and/or Ghettos.

That at all times hereinafter mentioned, after the end
of World War II, plaintiff WEISSHAUS was a displaced
person with Displaced Persons or Refugee Identity Card
No. 999.303 A and International Refugee Organization
No. 60698 (See collectively attached Exhibit 4),

That at all times hereinafter mentioned, plaintiff
WEISSHAUS, as well as the other class members became
citizens of the United States of America and other
nations of the world.

That at all times hereinafter mentioned, since the end
of World War II, plaintiff WETSSHAUS personally and
other class members have sought to obtain the return of
their personal property, including the gold, diamonds,
jewelry, pearls and other precious metals and jewels,
which plaintiff WEISSHAUS' Family and the Class
Members’ Families deposited with defendant Swiss Banks.
That at all times hereinafter mentioned, plaintiff
WEISSHAUS and other class members have been unable to
secure the return of personal property, including the
gold, diamonds, jewelry, pearls and other precious
metals and jewels, which plaintiff WEISSHAUS' Family
and other Class Members’ Families deposited with
defendant Swiss Banks. (See July 22, 1996 letter from
the Ombudsman of Swiss Banks attached as Exhibi't 5).

That at all times hereinafter mentioned, since the end

of World War II, the gold, diamonds, jewelry, pearls

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and othex,- precious merais and jewels, and the gold
which was.-removed from victims teeth, by the Nazi
Government, has never been accounted for and has never
been returned to plaintiff WEISSHAUS or the other class
members from whom it was taken.

That at all times relevant hereto, and upon information
and belief, during the Subject Period, the defendant
UNION BANK OF SWITZERLAND, including its predecessor or
affiliated institutions, received, took possession of,
exerted control over, purchased, converted, transferred
and/or otherwise acquired and/or was the depository for
the aforedescribed personal property, including but not
limited to the items of jewelry, household furnishing
and family heirlooms made of diamonds, gold, silver,
pearls and other precious metals and jewels, as well as
the gold from the teeth, of plaintiff WEISSHAUS'
Family and the entire Class Members’ Families, through
certain transactions and/or agreements with the
international war criminal Adolf Hitler and the
criminal Nazi Government during World War II, and all
of which was/were done in violation of the due process
and human rights of plaintiff Class Members Families.
That at all times relevant hereto, and upon information
ana belief, during the Subject Period, the defendant
UNTON BANK OF SWITZERLAND, including its predecessors
or affiliated institutions or assigns, received, took
possession of, exerted control over, an@/or was the

depository for the aforedescribed personal property,

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including but not limited to the items of jewelry,
household furnishing and family heirlooms made of
diamonds, gold, Silver, pearls and other precious
metals and jewels, which were deposited for safe
keeping by the plaintiff WEISSHAUS' Family and the
entire Class Members' Families so that same could be
retrieved and/or recovered after the end of World War
Il or the end of the Nazi Government.

That at all times relevant hereto, and upon information
and belief, during the Subject Period, the defendant
SWISS BANK CORPORATION a/k/a SWISS NATIONAL BANK,
including its predecessor or affiliated institutions or
assigns, received, took possession of, exerted control
over, purchased, converted, transferred and/or
otherwise acquired and/or was the depository for the
aforedescribed personal property, including but not
limited to the items of jewelry, household furnishing
and family heirlooms made of diamonds, gold, silver,
pearls and other precious metals and jewels, as well as
the gold from the teeth, of plaintiff WEISSHAUS' Family
and the entire Class Members' Families, through certain:
transactions and/or agreements with the international
war criminal Adolf Hitler and the criminal Nazi
Government during World War II, and all of which
was/were done in violation of the due process and other
human rights of the plaintiff Class Members Families.
That at ali times relevant hereto, and upon information

and belief, during the Subject Period, the defendant

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SWISS BANK CORPORATION a/k/a SWISS NATIONAL BANK,
including its predecessor or affiliated institutions or
assigns, received, took possession of, exerted control
over, and/or was the depository for the aforedescribed
personal property, including but not limited to the
items of. jewelry, household furnishing and family
heirlooms made of diamonds, gold, silver, pearls and
other precious metals and jewels, which were deposited
for safe keeping by the plaintiff WEISSHAUS' Family and
the entire Class Members! Families so that same could
be retrieved and/or recovered after the end of World
War II or the end of the Nazi Government.

That at all times relevant hereto, and upon information
and belief, during the Subject Period, the defendant
BANKING INSTITUTIONS # 1 - 100 (the names being
fictitious and solely for designation purposes until
the actual names are obtained through discovery),
including their predecessors, affiliated institutions,
Successors or assigns, received, took possession of,
exerted control over,. purchased, converted, transferred
and/or otherwise acquired and/or were the depositories
for the aforedescribed personal property, including but
hot limited to the items of jewelry, household
furnishing and family heirlooms made of diamonds, gold,
Silver, pearls and other precious metals and jewels, as
well as the gold from the teeth, of plaintiff
WEISSHAUS' Family and the entire Class Members'

Families, through certain transactions and/or

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agreements with the international war criminal Adolf
Hitler and the criminal Nazi Government during Worid
War II, and all of which was/were done in violation of
the due process and other human rights of the plaintiff
Class Members Families.
That at all times relevant hereto, and upon information
and belief, during the Subject Period, the defendants
BANKING INSTITUTIONS # 1 - 100 {the names being
fictitious and solely for designation purposes until
the actual names are obtained through discovery),
including its/their predecessors, successors,
affiliated institutions or assigns, received, took
possession of, exerted control over, and/or were the
depositories for the aforedescribed personal property,
including but not limited to the items of jewelry,
household furnishing and family heirlooms made 4f
diamonds, gold, silver, pearls and other precious
metals and jewels, which were deposited for safe
keeping by the plaintiff WEISSHAUS' Family and the
entire Class Members' Families so that same could be
retrieved and/or recovered after the end of World War
Ii or the end of the Nazi Government.

That at all times relevant hereto, and upon information
and belief, during the Subject Period, the defendants
JOHN DOES # 1 - 100 (the names being fictitious and
solely for designation purposes until the actual names
are obtained through discovery), including their

predecessors, successors or assigns, received, took

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possession of, exerted control over, purchased, /
converted, transferred and/or otherwise acquired the
aforedescribed personal property, including but not
limited to the items of jewelry, household furnishing
and family heirlooms made of diamonds, gold, silver,
pearls and other precious metals and jewels, as well as
the gold from the teeth, of plaintiff WEISSHAUS' Family
and the entire Class Members' Families, through certain
transactions and/or agreements emanating from the
international war criminal Adolf Hitler and the
criminal Nazi Government during World War II, and all
of which was/were done in violation of due process and
other human rights of plaintiff Class Members Families.
That at all times relevant hereto, and upon information
and belief, during the Subject Period, the defendants
JOHN DOES # 1 - 100 (the names being fictitious and
solely for designation purposes until the actual names
are obtained through discovery), including its/their
predecessors, successors or assigns, received, stook
possession of, exerted control over, purchased,
converted, transferred and/or otherwise acquired the
aforedescribed personal property, including but not
limited to the items of jewelry, household furnishing
and family heirlooms made of diamonds, gold, silver,
pearis and other precious metals and jewels, which had
been deposited for safe keeping with defendant Banks by
the plaintiff WEISSHAUS' Family and the entire Class

Members' Families so that same could be retrieved

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and/or recovered after the end of World War II or the
end of the Nazi Government.

That at all times relevant hereto, and upon information
and belief, the defendants became the de-facto and/or
constructive trustees in possession of the
aforedescribed personal property, including but not
limited to the items of jewelry, household furnishing
and family heirlooms made of diamonds, gold, silver,
pearls and other precious metals and jewels, as well as
the gold from the teeth, of plaintiff WETSSHAUS! Family
and the entire Class Members'! Families, through certain
transactions and/or agreements with and/or emanating
from the international war criminal Adolf Hitler and
the criminal Nazi Government during World War II, and
all of which were done in violation of due process and
other human rights of plaintiff Class Members Families.
That at all times relevant hereto, and upon information
and belief, the defendants became the de-facto and/or
constructive trustees in possession of the
aforedescribed personal property, including but not
limited to the items of jewelry, household furnishing
and family heirlooms made of diamonds, gold, silver,
pearls and other precious metals and jewels, which had
been deposited for safe keeping with defendant Banks by
the plaintiff WEISSHAUS' Family and the entire Class
Members' Families so that same could be retrieved
and/or recovered after the end of World War II or the

end of the Nazi Government.

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That as a result of defendants acts as aforesaid, the

plaintiff GIZELLA WEISSHAUS, on behalf of herself and

all other persons of all national origins, ethnic

t
groups, races, creeds and colors, Similarly situated as

victims and survivors of the Nazi Holocaust, has been

damaged and demands:

a.

an immediate accounting including specific
identification and disclosure of all dormant
accounts established during the Subject Period and
into which the aforedescribed personal property,
including but not limited to the items of jewelry,
household furnishing and family heirlooms made of
diamonds, gold, silver, pearls and other precious
metals and jewels, which had been deposited for
safe keeping with defendant Banks by the plaintiff
WETSSHAUS' Family and the entire Class Members’
Families so that same could be retrieved and/or
recovered after the end of World War II or the end
of the Nazi Government;

an immediate accounting including the specific
identification and disclosure of all accounts,
safety deposit boxes and transactions into,
through and/or by which gold bullion, currency,
jewels, precious gems, monies and other items of
value were deposited and/or transferred, and which
was related to the aforedescribed personal?
property, including but not limited to the items

of jewelry, household furnishing and family

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heirlooms made of diamonds, gold, Silver, pearls
and other precious metals and jewels, as well as
the gold from the teeth, of plaintiff WEISSHAUS'
Family and the entire Class Members' Families,
through certain transactions and/or agreements
with and/or emanating from the international war
criminal Adolf Hitler and the criminal Nazi
Government during World War II, and all of which
was/were done in violation of the due process
rights and human rights of the plaintiff Class

Members Families.

AS AND FOR A SECOND CAUSE OF ACTION - CONVERSION

That the plaintiffs repeat and reallege each and every
allegation set forth above as if the Same were set
forth more fully and at length herein.

That at all times hereinafter mentioned, -the defendants
acts as designated above and the failure to account for
and/or return to plaintiff WEISSHAUS and the Class
Members their aforesaid personal property, all of which
was removed and/or taken in violation of, among other
things, due process of law, international laws,
international banking laws, and human rights, and
constitutes a wrongful conversion.

That as a result of defendants acts as aforesaid, the
plaintiff GIZELLA WEISSHAUS, on behalf of herself and
all other persons of all national origins, ethnic

groups, races, creeds and colors, Similarly situated as

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victims and survivors of the Nazi Holocaust, has been
damaged and demands judgment against the defendants
jointly, severally and/or in the alternative in sum of
TEN BILLION DOLLARS ($10,000,000,000.00), plus punitive

damages, together with costs of this action.

AS AND FOR A THIRD CAUSE OF ACTION - UNJUST ENRICHMENT
That the plaintiffs repeat and reallege each and every
allegation set forth above as if the same were set
forth more fully and at length herein. ,

That at all times hereinafter mentioned, by virtue of
the defendants acts as designated above and the failure
to account for and/or return to plaintiff WEISSHAUS and
the Class Members their aforesaid personal property,
all of which was removed and/or taken in violation of,
among other things, due process of law, international
iaws, international banking laws, and human rights, the
defendants have been unjustly enriched.

That as a result of defendants acts as aforesaid, the
plaintiff GIZELLA WEISSHAUS, on behalf of herself and
all other persons of all national origins, ethnic
groups, races, creeds and colors, similarly situated as
victims and survivors of the Nazi Holocaust, has been
damaged and demands judgment against the defendants
jointly, severally and/or in the alternative in sum of
TEN BILLION DOLLARS ($10,000,000,000.00), plus punitive

damages, together with costs ef this action.

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WHEREFORE, plaintiffs GIZELLA WEISSHAUS, on behalf
of herself and all other persons of all national origins,
ethnic groups, races, creeds and colors, similarly situated

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as victims and survivors of the Nazi Holocaust, demands
judgement jointly severally and/or in the alternative
against Defendants as follows (i) on the First Cause of
Action for an Accounting and Full Disclosure as set forth in
Wi 42 a. & b. above, (ii) on the Second Cause of Action -
Conversion - for damages in the sum of TEN BILLION DOLLARS
($10,000,000,000.00), plus punitive damages, together with
costs of this action; and (iii) on the Third Cause of Action
- Unjust Enrichment - for damages in the sum of TEN BILLION
DOLLARS ($10,000,000,000.00), plus punitive damages,
together with costs of this action.
Dated: October 1, 1996

New York, NY

FAGAN & ASSOCIATES

By: Lo bur =), I6-——

“Edward D. Fagan (H#+4125)
26 Broadway, 21st Floor
New York, NY 10004
Tel. (212) 293-1900

- and -
DAN L. JOHNSTON ESQ,
26 Broadway, 21st Floor
New York, NY 10004
Tel. (212) 292-0095

Attorneys for Plaintiffs

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Case

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VERIFICATION

I have read the foregoing Verified Complaint and I
know the contents thereof. Except as to statements and
facts based upon information and belief the statements
contained therein are true to the best of my knowledge
information and belief and are primarily based upon my own

experiences and investigations.

. oe

Gizella Weisshaus

Sworn to and/or subscribed before me
on this lst day of October, 1996.

(Notary Seal)

Edward D. Fagan

Notary Public of State of New York
County of New York

Registration # O02FA5053738
Commission Expires 12/26/97

 

 

 
 

 

 

~ EX HIBI T

  

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“TARGEM” TRANSLATION SERVICE |

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1731 51s STREET. p 3°
- PLO. BOX 1738 Ft
BROOKLYN, N.Y. 11204 SPRING VALLEY, N.Y. 10977
TA Ba Tel.: 914-384-8176
CERTIFIED TRANSLATION FROM THE Kumantian LANGUAGE

Kousm am doa
City or Sighet
County of Maramures

A929"

PATRAGE PROM THE CIVIL STAND igiGy SER POR BIRIMS AS PER

  
 

 

Serlil number: 80
Date of Registry: (yeur, month, day): November 14, 1929
Date of birth (year, ionth, day): November 9,;°1929 .. =,
- First name, sex Religion of child: Gitel, girl, Jewish %

Parent«*e:

First and last name,

Mrofession, Kestdence: . - - Age:
Bari Valpert, housewile oy

sighet Andrei Muresau Str. 13

 

Eventual insertions or observations ,
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The exuclness of the present extract is herewLth:

certified, .
Pated ato Sivhedt on August 5, 19ON7

 

 

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Subsequent remarks: ee pe
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Celebrated on November 3, 1930 in the City of Sighet, County of, coy
Maramures, Document number/JQ/ 1430 Siuned: Dr. Kindrtis ” 7
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November vo, FUG, Document number HO4/ 118/ 1947 - 28 vrr LAT 4

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CERTIFICATE OF ACCURACY
“TARGEM” TRANSLATION SERVICE

 

~~ ADDRESS ANO ICLEPHONE AS ABOVE — . x “oo

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EXHIBIT 4
 

INTERNATIONAL REFUGEE ORGANIZATION
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INTERNATIONALE FLUCHTLINGS-ORGANISATION
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DISPLACED PERSONS OR REFUGEES IDENTITY CARD
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| INTERNATIONAL REFUGEE ORGANIZATION, AUSTRIA

| CARTE D'IDENTITE POUR PERSONNES DEPLACEES OU REFUGIES

 

EMISE PAR L’ORGANISATION INTERNATION UR LES REFUGIES,
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PRINCIPAL OFFICES OF IRO IN AUSTRIA:
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LINZ: ZOLLAMTSTRASSE 7
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EXHIBI

 
 
 

gune 5, 1995,

 

To Swiss Banking Ombudsman...
I am enclosing the claim i filled with Israel Fried &Associats
Now they are charging $250, wich is hard for me to pay i

request from you to Look into.this mutter and find the account a

of my Father...
hank you

Gisella Weisshaus

(203 Wilson Street Brooklyn New York

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“Case"1:96-cv-04849-ERK-JO' Docurhent 1 Filed 10/03/96 :Page 44 of 47 PagelD #: 44

 
 

 

 

 

  
 

Anlautstelle fi

 

Office de rechercl e d'avoirs non réclamés gérés par des banques suisses

 

Ufficio di ricerca di beni non reclamati gestiti da banche svizzere

 

 

Contact Office for the Search of Dormant Accounts Administered by Swiss Banks

Mrs.

Gisella Weisshaus

203 Wilson St.

USA - Brooklyn, NY 11214

 

Zurich, 17.06.96

Search for assets deposited with Swiss Banks

Dear Madam

1
We refer to your enquiry and have pleasure in enclosing the documentation needed for our
investigations.

The data sheet contains some general information and, in particular, describes the conditions under
which searches are carried out.

The questionnaire is neutral and expressed in general terms. {t is mostly impossible for
descendants of the victims of:racial, Teligious.or political persecution during the Nazi regime to
provide the requisite documents. In such instances, substitute documents or personal statements
may be submitted together with the appropriate explanations. Help may possibly be forthcoming from
the relevant official bodies or from Jewish organisations.

We charge a fee of CHF 300.-- for considering the documentation.

Since you wrote that your financial situation makes it hard for you to pay, we have decided to
waive the fee in your case.

This fee covers normal cases. If special enquiries become necessary in connection with your
identification or authorisation, we reserve the right to charge you with the additional costs involved.
Should this be the case we would, however, notify you beforehand.

Please return the completed questionnaire to us.

Yours sincerely,
wr) Office of the Swiss Banks ,

7 4 he
J@an-Luc Meier

Data sheet
Questionnaire

 

Seestrasse 7 Schweizerischer Bankenombudsman
Postfach 519 Ombudsman des banques suisses
CH- 8027 Zéirich Ombudsman delle banche svizzere

Tel. O1 281 O07 37 - Fax 0} 287 1083 Ombudsman of swiss banks
 

 

 

 

 

 

 

 

 

 

 

 

 
  

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